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16
                           IN THE UNITED STATES DISTRICT COURT
17                              FOR THE DISTRICT OF NEVADA

18   Cung Le, Nathan Quarry, Jon Fitch, Brandon           Case No. 2:15-cv-01045-RFB-BNW
19   Vera, Luis Javier Vazquez, and Kyle Kingsbury,
     on behalf of themselves and all others similarly     PLAINTIFFS’ MOTIONS IN LIMINE NOS. 8
20   situated,                                            TO 12 TO EXCLUDE UNFAIRLY
                                                          PREJUDICIAL AND IRRELEVANT
21                                                        EVIDENCE OR TESTIMONY RELATING TO
                                   Plaintiffs,            PLAINTIFFS
     v.
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23   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
24                                Defendant.

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30                                                                             Case No.: 2:15-cv-01045-RFB-BNW
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31                                    OR TESTIMONY RELATING TO PLAINTIFFS
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 1   I.      MOTION IN LIMINE NO. 8 TO EXCLUDE EVIDENCE OR ARGUMENT THAT THE
             CLASS OR ANY CLASS MEMBER FAILED TO MITIGATE DAMAGES
 2

 3           Plaintiffs Cung Le, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury

 4   (“Plaintiffs”) submit this Motion in Limine to exclude evidence or argument that the Class, or any of its

 5   members, mitigated or failed to mitigate damages.

 6           At trial, Plaintiffs intend to prove that Zuffa engaged in an unlawful Scheme to acquire and

 7   maintain monopsony power in the market for professional MMA fighter services. See Plts.’ Trial Br. at

 8   1, ECF No. 978. Plaintiffs will prove that Zuffa, due to its Scheme, was able to set prices for fighter

 9   services below competitive levels, and thereby substantially underpay its Class Member fighters. And
10   Plaintiffs, through the expert testimony of Prof. Hal Singer and Prof. Andrew Zimbalist, will prove

11   damages in the amount that Class Members were underpaid due to the Scheme while fighting for Zuffa

12   during the Class Period.

13           Both Dr. Singer and Prof. Zimbalist compute damages, for Class Members who fought during

14   the Class Period, as the amount each would have been paid for each bout in the absence of the

15   Challenged Scheme less the amount the UFC actually paid them for that bout. See Exh. L, Expert

16   Report of Hal J. Singer, Ph.D. ¶¶ 245-48 & Tbl. 10 (attached to Declaration in support of PMIL Nos. 4-

17   7); Exh. I, Expert Report of Andrew Zimbalist ¶¶ 125-26 & Tbls. 4-5 (attached to Declaration in

18   support of PMIL Nos. 4-7). And the Court has repeatedly affirmed this methodology as a valid and

19   reliable measure of antitrust injury. See Le v. Zuffa, LLC, 2023 WL 5085064, at *32 (D. Nev. Aug. 9,

20   2023) (“Defendant’s dominance in the input market for fighter services had the effect of reducing

21   fighters’ compensation below what would have been the competitive compensation for their

22   services.”); Le v. Zuffa, LLC, 2024 WL 195994, at *6 (D. Nev. Jan. 18, 2024); Le v. Zuffa, LLC, 216 F.

23   Supp. 3d 1154, 1169 (D. Nev. 2016).

24           In briefing and argument on Plaintiffs’ measure of damages, Zuffa has never alleged that Class

25   Members could have somehow mitigated the anticompetitive pay suppression inflicted by Zuffa’s

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 1   Scheme.1 Cf. JUUL Labs, Inc. v. Chou, 2023 WL 3886046, at *14 (C.D. Cal. June 8, 2023)

 2   (“Defendants bear the burden of establishing that Plaintiffs failed to mitigate.”). Nonetheless, Zuffa has

 3   now expressed its intent to argue an affirmative mitigation defense at trial. But Zuffa’s theory of

 4   supposed mitigation—in addition to lacking evidentiary support in the record—is nonsense. In response

 5   to Plaintiffs’ interrogatories, Zuffa indicated that the basis for its affirmative defense was that each

 6   Plaintiff (or Class Member) had either a) “mitigated any alleged damage . . . by contracting with a rival

 7   promotion . . . following the conclusion of his relationship with UFC,” or b) failed to mitigate damages

 8   by “declining to seek any professional MMA opportunities following the conclusion of his relationship

 9   with UFC.” Exh. Y, Def.’s Resp. to Plts.’ Interrog. No. 15.
10             This strange theory of mitigation—that any Class Member was required to seek alternative

11   employment “following the conclusion of his relationship with UFC”—fails on multiple levels. For

12   one, as a matter of settled law, plaintiffs alleging an “overcharge” theory of injury under Section 2 of

13   the Sherman Act have no duty to mitigate damages. See Hanover Shoe, Inc. v. United Shoe Mach.

14   Corp., 392 U.S. 481, 491 (1968) (rejecting a mitigation defense in such cases and declining to “limit

15   the general principle that the victim of an overcharge is damaged . . . to the extent of that overcharge”);

16   Royal Printing Co. v. Kimberly Clark Corp., 621 F.2d 323, 327 (9th Cir. 1980) (applying Hanover

17   Shoe); In re Glumetza Antitrust Litig., 336 F.R.D. 468, 480–81 (N.D. Cal. 2020) (noting that, under

18   Hanover Shoe, “antitrust injury occurs and is complete when the defendant sells at an illegally high

19   price. . . . The jury need hear no more” (internal quotations omitted)).2

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21   1
      Zuffa, through its economists, has claimed only that no antitrust injury or damages occurred. See Def.’s Trial
22   Br. at 31-32, ECF No. 979.
     2
       This holding applies with equal force here, where Plaintiffs allege that Zuffa, a monopsonistic buyer,
23
     categorically underpaid them for their services. See Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co.,
24   549 U.S. 312, 321 (2007) (describing monopsony as the “mirror image” of monopoly). In other words, just as
     with an illegal overcharge, when a price-fixing scheme or monopsony causes “sellers to receive less[] than the
25   prices that would prevail in a market free of the unlawful trade restraint, antitrust injury occurs.” Knevelbaard
     Dairies v. Kraft Foods, Inc., 232 F.3d 979, 988 (9th Cir. 2000); see id. (emphasizing that its holding is “equally
26   true” as to both “overcharged buyers” and “underpaid sellers”); O’Bannon v. Nat'l Collegiate Athletic Ass’n, 802
     F.3d 1049, 1071 (9th Cir. 2015) (holding that suppressed compensation to athletes constitutes antitrust injury); In
27   re High-Tech Emp. Antitrust Litig., 856 F. Supp. 2d 1103, 1123 (N.D. Cal. 2012); Doe v. Ariz. Hosp. &
     Healthcare Ass’n, 2009 WL 1423378, at *4 (D. Ariz. Mar. 19, 2009) (“Plaintiffs . . . were injured when
28   Defendants fixed the price of their wages below a competitive rate.”).

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 1          And second, Plaintiffs’ damages model—which this Court has repeatedly approved as a valid

 2   measure of antitrust injury, Le v. Zuffa, LLC, 2023 WL 5085064, at *32 (D. Nev. Aug. 9, 2023); Le v.

 3   Zuffa, LLC, 2024 WL 195994, at *6 (D. Nev. Jan. 18, 2024)—measures the extent to which Class

 4   Members were injured by Zuffa’s Scheme while fighting for Zuffa. Evidence that any Class Member

 5   did—or did not—seek any form of alternate employment “following the conclusion of his relationship

 6   with UFC” is wholly irrelevant to this analysis. Plaintiffs do not seek damages for the period after they

 7   left the UFC, so there is nothing to “mitigate.”

 8          In sum, at no point during this litigation has Zuffa presented any legal or factual predicate for a

 9   colorable mitigation defense, and the Court should reject its attempts to do so now. For these reasons,
10   Plaintiffs request that the Court exclude evidence or argument that the Class, or any of its members,

11   mitigated or failed to mitigate damages.

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 1      II.      MOTION IN LIMINE NO. 9 TO EXCLUDE EVIDENCE OF OR REFERENCE TO
                 PLAINTIFFS’ ALLEGEDLY FAILED PED TESTS AT ANY TIMES THEY WERE
 2               NOT UNDER CONTRACT WITH THE UFC

 3            Several of the named Plaintiffs fought for non-UFC promotions both before and after their

 4   careers in the UFC. For example, Plaintiff Jon Fitch fought for WSOF (which later became PFL) after

 5   being cut from the UFC. Plaintiffs believe that Zuffa intends to introduce evidence of allegedly failed

 6   PED tests by one or more Plaintiffs during their time fighting for promotions outside of the UFC. See,

 7   e.g., Declaration of Joseph Saveri filed herewith, ¶ 2. Such evidence has no bearing on any claim or

 8   defense in this case and is plainly aimed at inflaming the jury.

 9            Evidence is only admissible if it is relevant. Fed. R. Evid. 402. “Courts in the Ninth Circuit
10   routinely grant motions in limine seeking to exclude evidence that is irrelevant to the claims and

11   defenses at issue.” Wells Fargo Bank, N.A. v. LaSalle Bank Nat’l Ass’n, No. 08-cv-1448, 2011 WL

12   6300948, at *1 (D. Nev. Dec. 15, 2011) (citing M2 Software, Inc. v. Madacy Ent., 421 F.3d 1073,

13   1087-88 (9th Cir. 2005)). Even if evidence may be relevant, it may still be excluded if its probative

14   value is substantially outweighed by a danger of unfair prejudice, confusing the issues, misleading the

15   jury, undue delay, wasting time, or needless presentation of cumulative evidence. Fed. R. Evid. 403.

16            This case is an antitrust lawsuit arising out of Zuffa’s acquisition and maintenance of

17   monopsony power over the market for the services of elite professional MMA fighters in violation of

18   Section 2 of the Sherman Act. See Pls’ Trial Br. (ECF No. 978) at 7-10. The fact that Plaintiff Fitch (or

19   any other plaintiff for that matter) allegedly failed a drug test when outside of the employ of UFC does

20   not go to any element of any claim or defense. The results of these test results are plainly irrelevant. See

21   Szabo v. Muncy Indus., LLC, No. 21-cv-00468, 2024 WL 436354, at *5 (M.D. Pa. Feb. 5, 2024)

22   (excluding evidence of drug tests in FLSA case because “It does not matter how good an employee

23   Szabo was, or whether he had disciplinary issues, or why.”).

24            Miljas v. Greg Cohen Promotions, LLC, No. 20-cv-00320, 2023 WL 2069012 (S.D. Iowa Jan.

25   23, 2023), is instructive. In Miljas, the plaintiff was a boxer who brought claims arising out of an

26   exclusive boxing promotional agreement and sought to exclude evidence of a positive PED test at trial.

27   See id. at *1. The court agreed, stating:

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 1                   This case pertains to a contract dispute. Miljas asserts claims for breach of
                     the Agreement and tort claims arising out of the formation and
 2                   performance of the Agreement. Defendants’ contention that the drug test
                     result is relevant to the case because Cohen vouched for Miljas, allowing
 3
                     him to avoid suspension is a counterfactual not relevant to disprove a
 4                   breach of contract claim or prove any affirmative defenses to one. Nor is
                     it beneficial to proving or disproving other claims in this case.
 5   Id.
 6            Like the test in Miljas, Plaintiff Fitch’s allegedly positive PED test does nothing to prove or
 7   disprove any claim or affirmative defense in this case. The fact that Plaintiff Fitch’s allegedly positive
 8   test occurred when he was not under contract with the UFC, but with WSOF renders the relevance of
 9   the drug test even more attenuated than the excluded test in Miljas. The admission of Plaintiffs’ non-
10   UFC PED tests thus would only serve to bias, confuse, and inflame the jury.
11            To the extent Zuffa may seek to introduce Plaintiff Fitch’s non-UFC test results under Federal
12   Rule of Evidence 608 as evidence of Plaintiff Fitch’s truthfulness, this argument too is misplaced. The
13   fact of an alleged failed drug test has no bearing on Plaintiff Fitch’s truthfulness. See Szabo, 2024 WL
14   436354, at *6 (explaining that a “positive drug test is not itself probative of his untruthfulness”). In any
15   event, Rule 403 still dictates that the test be excluded because the danger of prejudice is severe. See id.
16   (explaining that “Even if the drug test sheds a pinprick of light on Szabo’s truthfulness, the obvious
17   danger of unfair prejudice is that the jury may believe that a plaintiff who is using illicit drugs has not
18   ‘earned’ the payment of overtime wages to which he is legally entitled and deny his claims on that
19   basis.”).
20            For the foregoing reasons, Plaintiffs request the Court exclude evidence of, or reference to,
21   Plaintiffs’ allegedly failed PED tests at any times they were not under contract with Zuffa.
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 1      III.      MOTION IN LIMINE NO. 10 TO EXCLUDE EVIDENCE OF OR REFERENCE TO
                  CONTRACTS BETWEEN UNIVERSAL STRENGTH HEADQUARTERS AND ITS
 2                EMPLOYEES, OR BETWEEN PLAINTIFF CUNG LE AND UNIVERSAL
                  STRENGTH HEADQUARTERS EMPLOYEES
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 4             Plaintiffs seek to exclude evidence of or reference to contracts, agreements, and negotiations

 5   between Universal Strength Headquarters (“USH”) and its employees, or between Cung Le and USH

 6   employees, as irrelevant and unduly prejudicial under Federal Rules of Evidence 401 and 403.

 7             Cung Le is a Representative Plaintiff and a member of the Bout Class in this action. See Plts.’

 8   Trial Br. at 1, ECF No. 978. Le fought for the UFC between 2011 and 2015, and he will testify at trial

 9   to his firsthand experience with each element of Zuffa’s Scheme and the effects of that Scheme. His
10   testimony will demonstrate how the Scheme operated as a cohesive, interlocking whole to control elite

11   MMA fighters and deprive them of the opportunity to offer their services to multiple reasonably

12   equivalent bidders. See id. at 5 (describing how “the three components of Zuffa’s Scheme—

13   acquisitions, exclusive contracts, and coercion—operated in concert to lessen competition and injure

14   Class Members”).

15             In addition to his work as an MMA fighter, Le owned and operated Universal Strength

16   Headquarters, a private training facility through which Le trained and managed MMA fighters. As

17   addressed in Plaintiffs’ Motion in Limine 11 to Exclude Evidence of or Reference to Plaintiffs’

18   Irrelevant Non-UFC Businesses below, Le’s ownership of a private gym is irrelevant, as it is not

19   probative of any element of Plaintiffs’ claim or Zuffa’s defenses, and unduly prejudicial. See Fed. R.

20   Evid. 401, 403. However, even if the fact of Le’s ownership of USH were relevant, evidence of Le’s

21   and USH’s contracts, agreements, and negotiations with fighters is independently irrelevant and unduly

22   prejudicial, and such evidence should be excluded under Rules 401 and 403.

23             At his deposition, Le was questioned at length about USH’s alleged “exclusive contracts” and

24   sponsorship agreements with its fighters, as well as about a USH fighter whose contract was allegedly

25   terminated for noncompliance with its terms. And, Zuffa has represented its intent to question Le on

26   this subject matter at trial. But whether USH used some form of “exclusive contracts” or entered into

27   certain sponsorship agreements with fighters has no relevance to any disputed issue in this case and

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 1   should be excluded under Rule 401. Zuffa’s apparent belief to the contrary suffers from multiple logical

 2   and legal failings.

 3          First, Zuffa does not contend—nor is there any evidence to support—that Le’s small, regional

 4   gym is in any manner a relevant yardstick to which the UFC should be compared. Nor does Zuffa

 5   present any evidence that USH possessed market power or engaged in anticompetitive monopsonistic

 6   conduct. The law is clear that contracts that are lawful and benign when used by a firm without market

 7   power can be anticompetitive and violate the antitrust laws when used by a monopolist or monopsonist.

 8   See, e.g., Cal. Comput. Prod., Inc. v. Int’l Bus. Machines Corp., 613 F.2d 727, 735 (9th Cir. 1979)

 9   (“The plaintiff need not show that the . . . monopolist’s acts were of a kind that would be unlawful for
10   an ordinary enterprise.”); In re Air Passenger Comput. Rsrvs. Sys. Antitrust Litig., 694 F. Supp. 1443,

11   1463 (C.D. Cal. 1988), aff’d sub nom. Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536 (9th

12   Cir. 1991). As a result, any evidence that USH used a particular contract provision bears no relevance

13   to the question presented in this case: whether the UFC’s Scheme, in the context of the relevant market,

14   operated to help Zuffa obtain or maintain monopsony power.

15          Second, a scheme involving exclusive contracts can only harm competition when the contracts,

16   collectively, foreclose a substantial amount of competition in a relevant market. See, e.g., Allied

17   Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 996 (9th Cir. 2010) (quoting

18   Omega Envt’l, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1162 (9th Cir. 1997)). Here, for instance, Dr.

19   Singer shows that Zuffa’s contracts foreclose upwards of 90% of the relevant market during the Class

20   Period. See Exh. L, Expert Report of Dr. Hal J. Singer, Ph.D. ¶¶ 128-29, 167-73 & Fig. 3 (attached to

21   the Declaration of Joseph Saveri in Support of Plaintiffs’ Motions in Limine Nos. 4-7). This is well

22   above the 30% threshold deemed sufficient to cause anticompetitive effects. See, e.g., Twin City

23   Sportservice, Inc. v. Charles O. Finley & Co., 676 F.2d 1291, 1298 (9th Cir. 1982); Cornwell Quality

24   Tools Co. v. CTS Co., Inc., 446 F.2d 825, 831 (9th Cir. 1971). Zuffa nowhere argues, nor could it, that

25   Le’s small gym’s handful of contracts approached a level of foreclosure more than miniscule.

26   Accordingly, there is no way that Le’s contracts with his fighters are in any way similar to Zuffa’s

27   Scheme here.

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 1           Third, and relatedly, the supposed relevance of this evidence hinges on the same error of law

 2   repeated throughout Zuffa’s briefing: that each piece of Zuffa’s Scheme can and should be

 3   disaggregated and evaluated in isolation. Zuffa appears to believe that USH’s alleged use of certain

 4   exclusive contract provisions or sponsorship agreements is somehow relevant to the legality of its own

 5   challenged conduct or the credibility of Le’s testimony about that conduct. But Plaintiffs do not, of

 6   course, allege that “exclusive contracts” are inherently anticompetitive across every industry and

 7   factual context. Instead, as this Court has repeatedly made clear, “the central inquiry . . . is the overall

 8   effect of the various contract provisions and Defendant’s concomitant coercive conduct, rather than the

 9   consideration of these different factors in isolation.” Le v. Zuffa, LLC, 2023 WL 5085064, at *26 (D.
10   Nev. Aug. 9, 2023); see Le v. Zuffa, LLC, 216 F. Supp. 3d 1154, 1168 (D. Nev. 2016). In other words,

11   Zuffa’s Scheme must be evaluated as a whole, rather than piece-by-piece; evidence that a firm in a

12   different market and without market power employed any particular business practice is not relevant to

13   that central inquiry.

14           Instead, the clear purpose of this evidence is not to disprove any element of Plaintiffs’ claims

15   but rather to bias, confuse, and mislead the jury. Accordingly, even if evidence of USH’s contracts and

16   negotiations had any probative value, this evidence should be excluded as unduly prejudicial under

17   Rule 403. Again, no party argues that USH is an appropriate yardstick for the UFC, that USH had

18   market power, or that exclusive contracts are inherently anticompetitive in every factual scenario.

19   Allowing Zuffa to insinuate that USH engaged in the same, or similar, conduct to the UFC—despite

20   lacking any evidence of a legally significant comparison between the two—would serve only to muddle

21   these distinctions, confuse the relevant issues, and prejudice the jury against Le.

22           For these reasons, Plaintiffs request that the Court evidence of contracts, agreements, and

23   negotiations between Cung Le or USH and USH’s fighters, as irrelevant and unduly prejudicial under

24   Federal Rules of Evidence 401 and 403.

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 1      IV.      MOTION IN LIMINE NO. 11 TO EXCLUDE EVIDENCE OF OR REFERENCE TO
                 PLAINTIFFS’ NON-UFC BUSINESSES
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 3            This case is about how Zuffa acquired, maintained, and then exercised monopsony power to

 4   suppress its fighters’ pay and cause other anticompetitive effects. In order to do so, Zuffa excluded and

 5   shut down its competitors and locked up its fighters to long-term exclusive contracts that lasted, in

 6   effect, in perpetuity or as long as Zuffa wanted them to. Pls. Tr. Brief at 2-3, ECF No 978. What

 7   Plaintiffs (or other Class members) decided to do after they left the UFC is plainly irrelevant to any

 8   claim or defense in this case. Nonetheless, Plaintiffs believe that Zuffa intends to introduce evidence of

 9   Plaintiffs’ business ventures after their careers in professional MMA fighting ended, evidence which
10   has no probative value to any claim or defense in this case. Worse still, Zuffa apparently intends to

11   introduce evidence of failed businesses which never got off the ground—such evidence is plainly

12   calculated to do nothing more than to bias and inflame the jury.

13            The touchstone of admissibility is relevance. Fed. R. Evid. 402. “Courts in the Ninth Circuit

14   routinely grant motions in limine seeking to exclude evidence that is irrelevant to the claims and

15   defenses at issue.” Wells Fargo Bank, N.A. v. LaSalle Bank Nat’l Ass’n, No. 08-cv-1448, 2011 WL

16   6300948, at *1 (D. Nev. Dec. 15, 2011) (citing M2 Software, Inc. v. Madacy Ent., 421 F.3d 1073,

17   1087-88 (9th Cir. 2005)). Even relevant evidence may be excluded if its probative value is substantially

18   outweighed by a danger of unfair prejudice, confusing or misleading the jury, or the risk of undue

19   delay, wasting time, or the needless presentation of cumulative evidence. Fed. R. Evid. 403.

20            Plaintiffs anticipate that Zuffa will offer evidence of Plaintiff Nate Quarry’s involvement in an

21   upstart Argentinean MMA promotion called Kizuna in 2012, long after Plaintiff Quarry had stopped

22   fighting in the UFC. See Declaration of Joseph Saveri filed herewith, ¶¶ 3-4, Exh. M, Deposition of

23   Nathan Quarry, at 270:22-271:4. From what Plaintiffs can tell, Zuffa intends to offer evidence that

24   Plaintiff Quarry attempted to promote a professional MMA event in South America, for which Plaintiff

25   Quarry intended to recruit professional MMA fighters. See id.

26            Evidence regarding this business venture is plainly irrelevant. Critically, Kizuna never

27   happened. Exh. M at 271:5-7 (“Q. Did the event in Argentina happen? A. I don’t know. It didn’t

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 1   happen with me if it did. I don’t really have any knowledge of it.”). Not one bout was fought, nor one

 2   fighter successfully recruited while Plaintiff Quarry was involved with Kizuna. Plaintiff Quarry’s South

 3   American venture is merely an attempt by Zuffa to create a straw man of competition where there was

 4   none. Further, as Plaintiff Quarry explained at his deposition, Kizuna was a “low-level” show, not

 5   something on the par with the UFC. Exh. M at 272:1-9. Kizuna was never intended to be a spectacle

 6   like a UFC event. An upstart South American MMA promotion is simply not comparable to the UFC—

 7   not in terms of resources, reach, or market power. It is also outside the relevant geographic market for

 8   the case. See Le v. Zuffa, LLC, No. 15-cv-01045, 2023 WL 5085064, at *18 (D. Nev. Aug. 9, 2023)

 9   (“Finally, the relevant geographic markets for both the input and output markets are ‘the United States,
10   and in the alternative, North America.’”); see also Topel Dep., at 491:9-16; 493:18-494:3 (Defendant’s

11   economist recognizing that MMA markets are regional) (available at ECF No. 596-39).

12          To the extent Plaintiff Quarry suggested recruiting professional MMA fighters for Kizuna,

13   Plaintiff Quarry readily admitted to his compatriots that this was “all speculation for the upcoming

14   show.” DX-0013. Indeed, the fact that Kizuna never happened shows Plaintiff Quarry’s statements

15   about recruiting fighters for Kizuna amounted to nothing but idle musings. Evidence of Plaintiff

16   Quarry’s involvement in a one-off South American venture therefore has little explanatory value as to

17   any issue set for trial in this case, except perhaps to show the difficulty in competing with the UFC. See

18   Surface Joint Venture v. E.I. DuPont de Nemours & Co., Inc., No. A-02-CA-043, 2003 WL 26101190,

19   at *1 (W.D. Tex. Feb. 3, 2003) (granting motion in limine to exclude irrelevant evidence of “DuPont’s

20   carpeting business, and DuPont’s Corian business strategies not involving the four companies with

21   which interference is alleged in this lawsuit”). Given that Plaintiff Quarry failed to recruit a single

22   professional fighter for a Kizuna event that never occurred, this evidence should also be excluded

23   because any marginal relevance of this evidence is severely outweighed by the danger of unfair

24   prejudice and confusion of the jury. Fed. R. Evid. 403; Stone Brewing Co., LLC v. Millercoors LLC,

25   No. 18-cv-00331, 2021 WL 63139, at *8 (S.D. Cal. Jan. 7, 2021) (excluding evidence and argument

26   regarding other business activities as unduly prejudicial).

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 1          For the foregoing reasons, Plaintiffs respectfully request the Court exclude evidence of or

 2   reference to Plaintiffs’ non-UFC businesses.

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 1      V.      MOTION IN LIMINE NO. 12 TO EXCLUDE EVIDENCE OF OR REFERENCE TO
                THE PROPOSED IDENTITY CLASS
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 3           On August 9, 2023, this Court certified a single “Bout Class” that consisted of “[a]ll persons

 4   who competed in one or more live professional UFC-promoted MMA bouts taking

 5   place or broadcast in the United States from December 16, 2010 to June 30, 2017,” and excluding “all

 6   persons who are not residents or citizens of the United States unless UFC paid such persons for

 7   competing in a bout fought in the United States.” Class Certification Order, ECF 839 at 79. The Court

 8   specifically declined to certify a proposed “Identity Class” consisting of fighters “whose Identity was

 9   expropriated or exploited by UFC, including in UFC Licensed Merchandise and/or UFC Promotional
10   Materials in the United States from December 16, 2010 to June 30, 2017.” Id. at 1-2, 75-78.

11           Given the Court’s denial of the proposed Identity Class, references to and evidence regarding

12   the uncertified “Identity Class” is irrelevant, unduly prejudicial, and creates a serious risk of jury

13   confusion pursuant to Federal Rules of Evidence 401, 402, and 403.

14           There appeared to be no dispute about the irrelevance of the Identity Class a few days ago. See

15   Defendant Zuffa LLC’s Amended Trial Brief, ECF 983 at 48-49 (agreeing that references to the

16   uncertified Identity Class are irrelevant, unduly prejudicial and potentially confusing to the jury). Nor

17   should there be any dispute about the irrelevance of the Identity Class to this case. Discussion of an

18   uncertified class has no arguable relevance to the Bout Class’s antitrust claims. As only relevant

19   evidence is admissible, evidence (such as references to an uncertified subclass) that cannot meet this

20   standard is inadmissible. See Fed. R. Evid. 402 & 402. Even if references to another uncertified class of

21   fighters were relevant, which it is not, any probative value of such references would be substantially

22   outweighed by a danger of needlessly confusing or misleading the jury in this already complicated

23   antitrust class action and should be barred by Fed. R. Evid. 403. “Courts in the Ninth Circuit routinely

24   grant motions in limine seeking to exclude evidence that is irrelevant to the claims and defenses at

25   issue.” Wells Fargo Bank, N.A. v. LaSalle Bank Nat’l Ass’n, No. 08-cv-1448, 2011 WL 6300948, at *1

26   (D. Nev. Dec. 15, 2011) (citing M2 Software, Inc. v. Madacy Ent., 421 F.3d 1073, 1087-88 (9th Cir.

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 1   2005)); see, e.g., Andrews v. Plains All American Pipeline, LP, 2021WL 5283945 at *3 (C.D. Cal. Nov.

 2   5, 2021) (granting motion in limine barring references to decertified class).

 3           Plaintiffs informed Zuffa that (i) Plaintiffs have no intention of referencing the proposed but

 4   uncertified “Identity Class;” and (2) Plaintiffs are not seeking damages based on a theory relating to

 5   disputes over athlete likeness rights. Despite agreeing that the “Identity Class” has no relevance to this

 6   case, Zuffa refused to agree to mutual straight-forward stipulation barring Identity Class references and

 7   evidence from both parties at trial. Zuffa refused to mutually stipulate to exclude Identity Class unless

 8   Plaintiffs also agreed to refrain from not only from referencing the Identity Class but also from

 9   introducing evidence that is relevant to the claims at issue in this case, namely evidence concerning the
10   negotiations and disputes between the class of fighters in the Bout Class and Zuffa concerning Bout

11   Class members’ likeness rights. Unlike references to the uncertified Identity Class, evidence that shows

12   that Zuffa used disputes relating to fighter likeness rights to assert leverage over Fighters in the Bout

13   Class as part of Zuffa’s anticompetitive scheme against the Bout Class.

14           Evidence of the negotiation of and disputes relating to UFC fighter likeness rights, and the

15   UFC’s use of leverage as part of its efforts to coerce the fighters into renewing their promotional and

16   ancillary rights agreements, and other long-term commitments to Zuffa is highly relevant to Plaintiffs’

17   proof of the challenged Scheme in this case, which includes acquisitions, exclusive contracts, and

18   coercion. While evidence about the identity class has no relevance and is likely to confuse a jury,

19   evidence concerning Zuffa’s leveraging fighters using likeness rights is probative of the fact that UFC

20   exerted tremendous leverage and control over the Bout Class fighters, which in turn demonstrates the

21   anticompetitive scheme Plaintiffs allege.

22           The Court should not require Plaintiffs to enter a quid pro quo with Zuffa which would require

23   them to trade an agreement to refrain from introducing irrelevant Identity Class evidence (which both

24   sides admit is irrelevant) in exchange for a bar to relevant, probative, non-prejudicial evidence

25   concerning one of the many ways Zuffa coerced Bout Class fighters.

26           For the foregoing reasons, Plaintiffs request the Court exclude evidence of, or reference to,

27   identity class.

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 1   Dated: February 29, 2024                     Respectfully submitted,

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 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on this 29th day of February, 2024 a true and correct copy of

 3   PLAINTIFFS’ MOTIONS IN LIMINE NOS. 8 TO 12 TO EXCLUDE UNFAIRLY PREJUDICIAL

 4   AND IRRELEVANT EVIDENCE OR TESTIMONY RELATING TO PLAINTIFFS was served via

 5   the District Court of Nevada’s ECF system to all counsel of record who have enrolled in this ECF

 6   system.

 7                                                               /s/ Joseph R. Saveri
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